




Criminal Case Template











  


COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




JOSEPH ASHMORE,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.

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No. 08-03-00254-CR


Appeal from the


142nd District Court


of Midland County, Texas


(TC# CR-27888)



M E M O R A N D U M    O P I N I O N



	Pending before the Court is Appellant's application to dismiss this appeal pursuant
to Tex. R. App. P. 42.2(a), which states that:

(a) At any time before the appellate court's decision, the appellate court
may dismiss the appeal if the party that appealed withdraws its notice of
appeal--by filing a written withdrawal in duplicate with the appellate clerk,
who must immediately send the duplicate copy to the trial court clerk.  An
appellant must personally sign the written withdrawal. 


	No opinion has issued in this case.  The motion is signed by Appellant and his
counsel.  The Clerk of this Court has certified that a copy of the motion was mailed to the
District Clerk of Midland County, Texas.  Appellant having complied with the requirements
of Rule 42.2(a), the Court has considered this cause on Appellant's motion and concludes the
motion should be granted and the appeal should be dismissed.  We therefore dismiss the
appeal.	


October 16, 2003


							_________________________________

							RICHARD BARAJAS, Chief Justice



Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.


(Do not publish)


